       Case 3:20-cv-00201-RNC Document 180 Filed 05/26/21 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT


SELINA SOULE, a minor, by Bianca
Stanescu, her mother; CHELSEA
MITCHELL, a minor, by Christina Mitchell,         Case No. 3:20-cv-00201 (RNC)
her mother; ALANNA SMITH, a minor, by
Cheryl Radachowsky, her mother; ASHLEY
NICOLETTI, a minor, by Jennifer Nicoletti,           NOTICE OF APPEAL
her mother,

                    Plaintiffs,
       v.

CONNECTICUT ASSOCIATION OF
SCHOOLS, INC. d/b/a CONNECTICUT
INTERSCHOLASTIC ATHLETIC
CONFERENCE; BLOOMFIELD PUBLIC
SCHOOLS BOARD OF EDUCATION;
CROMWELL PUBLIC SCHOOLS BOARD OF
EDUCATION; GLASTONBURY PUBLIC
SCHOOLS BOARD OF EDUCATION;
CANTON PUBLIC SCHOOLS BOARD OF
EDUCATION; DANBURY PUBLIC
SCHOOLS BOARD OF EDUCATION,

                    Defendants,
       and

ANDRAYA YEARWOOD; THANIA
EDWARDS on behalf of her daughter, T.M.;
CONNECTICUT COMMISSION ON HUMAN
RIGHTS,

                    Intervenors.



      PLEASE TAKE NOTICE that Plaintiffs Selina Soule, Chelsea Mitchell,

Alanna Smith, and Ashley Nicoletti, hereby appeal to the United States Court of

Appeals for the Second Circuit from the Ruling and Order (Doc. 178) and Judgment
       Case 3:20-cv-00201-RNC Document 180 Filed 05/26/21 Page 2 of 2




(Doc. 179) granting Defendants’ and Intervenors’ Motion to Dismiss, entered in this

action on April 26, 2021.

      Respectfully submitted.

                                      s/ Roger G. Brooks
Kristen K. Waggoner                    Roger G. Brooks
CT Fed. Bar No. PHV10500               CT Fed. Bar No. PHV 10498
Christiana M. Holcomb                  ALLIANCE DEFENDING FREEDOM
CT Fed. Bar No. PHV10493               15100 N. 90th Street
ALLIANCE DEFENDING FREEDOM             Scottsdale, AZ 85260
440 First St., NW, Suite 600           (480) 444-0020
Washington, DC 20001                   rbrooks@ADFlegal.org
(202) 393-8690
kwaggoner@ADFlegal.org
cholcomb@ADFlegal.org

Howard M. Wood, III
CT Fed. Bar No. 08758
James T. Howard
CT Fed. Bar No. 07418
Fiorentino, Howard & Petrone, P.C.
773 Main Street
Manchester, CT 06040
(860) 643-1136
howard.wood@pfwlaw.com
james.howard@pfwlaw.com

                                Attorneys for Plaintiffs

May 26, 2021




                                         2
